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UNITED STATES BANKRUPTCY Document
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FOR THE DISTRICT OF MASSACHUSETTS
WESTERN DIVISION
                                       )
                                       )
In re                                  )      Chapter 7
                                       )      Case No. 19-30061-EDK
BRENDA ANN BROWNELL                    )
                                       )
                            Debtor     )
                                       )


  ORDER ON MOTION FOR ORDER AUTHORIZING AND APPROVING PRIVATE
                SALE OF PROPERTY OF THE ESTATE
                     (26 Church Street, Ware, MA)

       At Springfield in said District this _____day of _______, 2019.

       This matter having come before the Court upon the Motion of Gary M. Weiner, Chapter
7 Trustee seeking an order authorizing and approving private sale of property of the estate
pursuant to 11 U.S.C. § 363(b) and (f) and Bankruptcy Rule 6004 (c), the estate’s interest in
certain real property identified as 26 Church Street, Ware, Hampshire County, Massachusetts
(hereinafter “Real Property”), free and clear of all liens, encumbrances and claims of every kind
and description, “as is” and “where is” to Mary Gelezunas (the “Buyer”) or her nominee, for the
sum of $119,000.00 plus a buyer’s premium of $4,000.00; and the Court finding that notice has
been properly given to parties in interest; and the Court finding that the sale, on the terms in the
Motion is appropriate; and the Court finding that the buyer is a good faith purchaser as that term
is used in 11 U.S.C. §363, and entitled to protections provided in such section and further that
the sale has been made as an arms-length transaction.


       The Court finds that the Motion constitutes a core proceeding, pursuant to 28 U.S.C. §
157(b)(2)(N), and that it has jurisdiction over this matter pursuant to 28 U.S.C. §1334. The
Court further finds that the sale is authorized under 11 U.S.C. §363(b), (f) and (m) and for good
cause shown, it is hereby:


        ORDERED that the Trustee’s Motion shall and hereby is allowed and the Trustee is
authorized to sell the Bankruptcy Estate’s interest in the Real Property that was originally
acquired by the Debtor, Brenda Ann Brownell on July 18, 2008 in a deed recorded Book 9545
Page 218 in the Hampshire County Registry of Deeds pursuant to 11 U.S.C. §363(b) and (f) free
and clear of all liens and encumbrances for the sum of $119,000.00 to Mary Gelezunas or her
nominee; and it is further
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        ORDERED that the Trustee shall be authorized to accept a carve-out of $3,500.00 from
the proceeds of the sale of the property pursuant to 11 U.S.C. §506(c) plus accept an additional
$4,000.00 from the buyer; and it is further


       ORDERED that the Trustee is authorized to pay from the sale proceeds a 6% broker’s
commission to BK Global Real Estate Services, LLC; and the balance of the sale proceeds is to
be paid to USDA Rural Development, holder of the first mortgage; and it is further


       ORDERED that the Trustee is authorized to prepare, execute and deliver any and all
documents, including without limitation, deeds and settlement statements, and to perform any
and all acts necessary to conduct and close the sale of the real property referenced herein,
whether such documents are known now or become known and necessary in the future;




                                                      ___________________________________
                                                      Elizabeth D. Katz
                                                      United States Bankruptcy Judge
